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 9
10                          UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12
13   DANIEL MURILLO, individually, and               Case No. 2:18-cv-6594-RGK-JC
     on behalf of a class of similarly situated
14   individuals,                                    Hon. R. Gary Klausner
15                Plaintiffs,                        NOTICE OF VOLUNTARY
                                                     DISMISSAL PURSUANT TO
16         v.                                        F.R.C.P. 41(A)(1)
17   SHARKNINJA OPERATING LLC., a             Complaint filed: July 31, 2018
     Massachusetts limited liability company, Trial Date: None Set
18
                Defendant.
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                                                                        Case No. 2:18-cv-6594-RGK-JC
                       NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P 41(a)(1)
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 1         PLEASE TAKE NOTICE that Plaintiff Daniel Murillo (“Plaintiff”),
 2   pursuant to Federal Rule of Civil Procedure 41(a)(1), hereby voluntarily
 3   dismisses all claims in this action without prejudice as to Defendant SharkNinja
 4   Operating LLC (“Defendant”).
 5         Defendant has neither answered Plaintiff’s Complaint, nor filed a motion
 6   for summary judgment. Accordingly, this matter may be dismissed without
 7   prejudice and without an Order of the Court under Federal Rule of Civil
 8   Procedure 41(a)(1)(A)(i). Notice to the class is not necessary under Federal Rule
 9   of Civil Procedure 23(e) because the Court has not certified a class in this case.
10
11   Dated: August 8, 2018                        Respectfully submitted,
12                                                Capstone Law APC
13
14                                          By:     /s/ Trisha Monesi
                                                  Jordan L. Lurie
15                                                Tarek H. Zohdy
                                                  Cody R. Padgett
16                                                Trisha K. Monesi
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